Case 2:19-cv-10363-TJH-E Document 17 Filed 06/25/20 Page 1of1 Page ID #:64

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
CIVIL MINUTES - GENERAL

Case No. CV 19-10363-TJH(Ex) Date JUNE 25, 2020

 

 

Title David Vaccaro v. Nextdoor.com, Inc.

 

Present: The Honorable TERRY J. HATTER, JR., UNITED STATES DISTRICT JUDGE

 

 

 

YOLANDA SKIPPER NOT REPORTED
Deputy Clerk Court Reporter
Attorneys Present for Plaintiffs: Attorneys Present for Defendants:
None Present None Present

Proceedings: (INCHAMBERS) ORDER AND NOTICE TO ALL PARTIES

In light of the notice of settlement, filed June 12, 2020, indicating that the case has settled in its entirety,
this Court retains full jurisdiction over this action and this Order shall not prejudice any party to this
action.

By AUGUST 14, 2020 the parties shall file either a proper stipulation and order for dismissal or
judgment. Failure to timely file a stipulation and order for dismissal or judgment shall result in the
dismissal of this action.

All pending hearings and motions are now taken off calendar and vacated.

IT IS SO ORDERED.

cc: all parties

 

CV-90 CIVIL MINUTES - GENERAL Initials of Deputy Clerk YS
